105 F.3d 649
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Grady William POWERS, Defendant-Appellant.
    No. 96-7645.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1996.Decided Jan. 9, 1997.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Bryson City.  William L. Osteen, Sr., District Judge.  (CR-93-19)
      Grady Williams Powers, Appellant Pro Se.
      Deborah Ann Ausburn, Assistant United States Attorney, Asheville, NC, for Appellee.
      W.D.N.C.
      APPEAL DISMISSED.
      Before WILKINS, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court and on the ground that the appeal is frivolous.  United States v. Powers, No. CR-93-19 (W.D.N.C. Oct. 11, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    